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         Exhibit 3
                                                      Case 1:23-cv-03722-PAE Document 25-3 Filed 12/19/23 Page 2 of 3
REPORT DETAILS
Report Submission Date
2/22/2022


Reported Company/Branch Information
Location Spirit AeroSystems, Inc. - Wichita
3801 South Oliver
City/State/Zip: Wichita, KS, 67210, USA )


What is your relationship to
Spirit AeroSystems, Inc?
Employee


Please identify the person(s) involved in or aware of this concern:
REDACTED




Has this issue/incident been previously reported?
No


Approximate date of when this was previously reported?
2/22/2022


Where did this happen?
Shipping center throughout the units in the process of being shipped.


When did this happen?
Is been a on going issue that has risen within the last week dates from 2/14/2022 to 2/22/2022


How long do you think this has been going on?
Don't know


Details
The inspection team and myself have been put on a very unethical place. As part of our process we are to find and document the defects we find on our daily tasks. There has been too much tension lately with managers and the
amount of defects being found on our FOD walks that we were instructed by our leadership to write pickups properly with the correct number of defects as its written per our procedures.
This has become an issue and has risen a very high level of attention due to the excessive amount of defects, today around 9 o'clock in the morning our manager Ryan Clark instructed us to change the way we wrote the defects and
no longer document the amount of defects on the quantity box but change it and log it on the zone box which would be falsifying the documentation. I raised my concerns because this challenges our integrity because we are being
asked to purposely record inaccurate information. As a team lead i asked my manager to please send a e-mail to inform this to the team because i felt uncomfortable to to instruct them the direction given.
I have attached the email send out along with my response to the situation and around 12:45PM i was called to the office by Steve Aubuchon, in the conference room i was informed that i will be moved to pre-integration (different
area) and that i will no longer be a team lead de to my inability to follow instructions and being border line subordinate at times. this was informed to me in the presence of second level manager Jon Louia, and first level manager
Paula Hall. this happened within minutes of my reply to the email reply i send about the direction of how we document our defects and feel like my leadership is retaliating towards me for trying to do the right thing and do what is
best for my team. The whole inspection team in the shipping center is involved and can concur with what i have said and will appreciate with the support being presented to us.


Uploaded Files
     1. Pickups Email..png



Follow-Up Notes
There are no additional notes for this report.
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Follow-Up Questions/Comments

Thank you for reporting your concern to the EthicsPoint Hotline. This matter has been received. Please check for additional follow up regularly.

I have not head back from you guys in over two weeks? any updates?
Thanks!


Your submission to EthicsPoint has been received and assigned for appropriate review and investigation. If you have any additional information you would like to submit, please do so through the EthicsPoint telephone hotline at
888-577-9490 or website at www.ethicspoint.com. You will need to provide EthicsPoint with the report key they assigned and the password that you selected. Please check the site regularly as we may post follow up questions.
When the matter is concluded, we will post the closure notification there as well. Please be aware that, due to employee confidentiality, we will not disclose information regarding any specific employment action taken.

Spirit’s policies strictly prohibit retaliation against employees for reporting issues in good faith or participating in workplace investigations. If you believe that you have been retaliated against in any way based on your participation
in this matter, please advise.

Please provide reference(s) to work instructions, policies, procedures or the FAA regulation(s) that supports the allegation that the way the team has been asked to document defects is out of compliance; this will help with the
investigation.

Christina House
Sr. Manager, Global Ethics & Compliance

PRO-4005, Managing non conforming products.
MAA1-10004-2


Hi REDACTED , I am hoping to wrap it up this week. I'll be in touch through email to have a phone call with you with the outcome.

Warm Regards,
Jenny Kreutzer
HR Consultant
316-680-4821


Chat Transcripts
There are no chat transcripts for this incident.
